Case 20-10343-LSS   Doc 1496-3   Filed 10/13/20   Page 1 of 5




        EXHIBIT 2
                            Case 20-10343-LSS                       Doc 1496-3                 Filed 10/13/20            Page 2 of 5



              UNITED STATES BANKRUPTCY COURT
               FOR THE DISTRICT OF DELAWARE
In re:                                          Chapter 11
    TK HOLDINGS, INC., et al.,                  Case No. 17-11375 (BLS)
        Debtors.                                Jointly Administered


 Proof of Claim (Airbag Inflator Related)
 Read the instructions before filling out this form. This form is for asserting general unsecured claims based on registration of a
 vehicle that was equipped with an airbag containing a phase-stabilized ammonium nitrate inflator manufactured by the Debtors.

 Do not use this form to assert any other pre-petition claims, including secured claims or claims entitled to priority under 11
 U.S.C. § 507(a).
 Secured claims, claims entitled to priority under 11 U.S.C. § 507(a) and non-airbag inflator related claims should be filed on
 Form 410, available on tkrestructuring.com.

 PPIC Proofs of Claim asserting damages for economic loss shall be deemed filed and asserted against each of the Debtors that was engaged in
 the business of designing, manufacturing, or selling products containing PSAN Inflators.
 Filers must leave out or redact information that is entitled to privacy on this form or on any supporting documents. Attach redacted copies of
 any documents that support the claim. Do not send original documents; they may be destroyed after scanning.
 A person who files a fraudulent claim could be fined up to $500,000, imprisoned for up to 5 years, or both. 18 U.S.C. §§ 152, 157, and 3571.

 Fill in all the information about the claim as of the date the case was filed. Please Type or Print in the Boxes Below. Do NOT use Red Ink or Pencil.

 Part 1:    Identify the Claim

                              First Name                                               Middle    Last Name
1. Who is the
   creditor?
                              First Name (Co-Registrant, if any)                       Middle    Last Name (Co-Registrant, if any)




                              Company Name (If creditor is not an Individual)



                              Last 4 Digits of Social Security Number/Taxpayer ID Number


                              Address Line 1/Contact Name (If creditor is not an Individual)
2. Where should notices
   to the creditor be
   sent?                      Address Line 2

   Federal Rule of
   Bankruptcy Procedure       City                                                                           State/Province Zip Code/Postal Code
   (FRBP) 2002(g)

                              Country (if outside of the United States)


                              Email Address (Optional, however if one is provided you are consenting to electronic notice regarding updates related to this claim)




                              Address Line 1
3. Where should
   payments to the
   creditor be sent? (if      Address Line 2
   different than above)
   Federal Rule of            City                                                                           State/Province Zip Code/Postal Code
   Bankruptcy Procedure
   (FRBP) 2002(g)
                              Country (if outside of the United States)




                                                           Proof of Claim (Airbag Inflator Related)                                                      page 1
                            Case 20-10343-LSS                         Doc 1496-3                 Filed 10/13/20              Page 3 of 5

 Part 2:     Give Information About the Claim as of the Date the Case Was Filed

                                Vehicle Identification Number (VIN)
4. Identify the vehicle with
   the airbag inflator.
   Please submit a
                                Model Year                      Make/Manufacturer
   separate form for each
   vehicle.
                                Model



5. Did you own or lease the                                                                   6. Are you the original
   vehicle?                            Own                                                       registered owner or                    No
                                                                                                 lessee?
                                       Lease                                                                                            Yes
                                Date Purchased or Leased
7. Identify the period that
   you owned or leased the                   /              /
   vehicle.                      M     M          D     D        Y    Y    Y    Y
                                Date Sold or Lease Terminated
                                             /              /                                 OR                I am the current owner or lessee
                                 M     M          D     D        Y    Y    Y    Y
                                 M
8. How much is the claim?        $                                                        .                  OR                   Unknown

9. What is the basis of
                                       Loss of Economic Value
   the claim?

                                       Personal Injury/Litigation. Please provide details regarding type and date of injury. Add additional pages if necessary.




                                       Other. Please describe below. Add additional pages if necessary.




 Part 3:    Sign Below

 The person completing          Check the appropriate box:
 this proof of claim must
 sign and date it.                    I am the creditor.                                 I am the creditor’s attorney or authorized agent.
 FRBP 9011(b).                  I understand that an authorized signature on this Proof of Claim serves as an acknowledgment that when calculating the
 If you file this claim         amount of the claim, the creditor gave the debtor credit for any payments received toward the debt.
 electronically, FRBP           I have examined the information in this Proof of Claim and have a reasonable belief that the information is true and
 5005(a)(2) authorizes courts   correct.
 to establish local rules       I declare under penalty of perjury that the foregoing is true and correct.
 specifying what a signature
 is.                            Executed on date                     _____        __ (mm/dd/yyyy)
 A person who files a
 fraudulent claim could be
 fined up to $500,000,
 imprisoned for up to 5               Signature
 years, or both.                Print the name of the person who is completing and signing this claim:
 18 U.S.C. §§ 152, 157, and
                                Name
 3571.                                                  First name                             Middle name                           Last name

                                Title (if applicable)

                                Company (if applicable)
                                                            Identify the corporate servicer as the company if the authorized agent is a servicer.




                                                             Proof of Claim (Airbag Inflator Related)                                               page 2
                          Case 20-10343-LSS               Doc 1496-3     Filed 10/13/20        Page 4 of 5


Instructions for Proof of Claim (Airbag Inflator Related)
You or your estate may have a claim against the Debtors for monetary loss, personal injury, or death you have suffered, or in
the future may suffer, on account of your current or past ownership of a vehicle containing a Takata-manufactured airbag. You
should consider obtaining the advice of an attorney, especially if you are unfamiliar with the bankruptcy process and privacy
regulations.

    A person who files a fraudulent claim could be fined up
    to $500,000, imprisoned for up to 5 years, or both.
    18 U.S.C. §§ 152, 157 and 3571.


How to fill out this form                                              Understand the terms used in this form

    Fill in all of the information about the claim as                 Claim: A creditor’s right to receive payment for a debt that
     of the date the case was filed.                                   the debtor owed on the date the debtor filed for bankruptcy.
                                                                       11 U.S.C. §101 (5).
    Attach any supporting documents to this form.
     Attach redacted copies of any documents that show
                                                                       Creditor: A person, corporation, or other entity to whom a
     that the debt exists. (See the definition of redaction.)
                                                                       debtor owes a debt that was incurred on or before the date
    Do not attach original documents                                  the debtor filed for bankruptcy. 11 U.S.C. §101 (10).
     because attachments may be destroyed
     after scanning.                                                   Debtor: A person, corporation, or other entity who is in
    A Proof of Claim form and any attached                            bankruptcy. 11 U.S.C. § 101 (13).
     documents must show only the last 4 digits
     of any social security number, individual’s                       Evidence of perfection: Evidence of perfection of a
     tax identification number, or financial                           security interest may include documents showing that a
     account number, and only the year of any                          security interest has been filed or recorded, such as a
     person’s date of birth. See Bankruptcy Rule                       mortgage, lien, certificate of title, or financing statement.
     9037.
    For a minor child, fill in only the child’s                       Information that is entitled to privacy: A Proof of Claim
     initials and the full name and address of the                     form and any attached documents must show only the last 4
     child’s parent or guardian. For example, write                    digits of any social security number, an individual’s tax
     A.B., a minor child (John Doe, parent, 123                        identification number, or a financial account number, only
     Main St., City, State). See Bankruptcy Rule                       the initials of a minor’s name, and only the year of any
     9037.                                                             person’s date of birth. If a claim is based on delivering
                                                                       health care goods or services, limit the disclosure of the
This form is for asserting general unsecured claims
                                                                       goods or services to avoid embarrassment or disclosure of
based on registration of a vehicle that was
equipped with an airbag containing a phase-
                                                                       confidential health care information. You may later be
stabilized ammonium nitrate inflator manufactured                      required to give more information if the trustee or someone
by the Debtors. Do not use this form to assert any                     else in interest objects to the claim.
other pre-petition claims, including secured claims
or claims entitled to priority under 11 U.S.C. §                       Priority claim: A claim within a category of unsecured
507(a). Secured claims, claims entitled to priority                    claims that is entitled to priority under 11 U.S.C. § 507(a).
under 11 U.S.C. § 507(a) and non-airbag inflator                       These claims are paid from the available money or property
related claims should be filed on Form 410,                            in a bankruptcy case before other unsecured claims are paid.
available on tkrestructuring.com.                                      Common priority unsecured claims include alimony, child
                                                                       support, taxes, and certain unpaid wages.
Confirmation that the claim has been filed
                                                                       Proof of claim: A form that shows the amount of debt the
                                                                       debtor owed to a creditor on the date of the bankruptcy filing.
To receive confirmation that the claim has been filed,
                                                                       The form must be filed in the district where the case is pending.
enclose a stamped self-addressed envelope and a copy
of this form. You may view a list of filed claims in
this case by visiting the Claims and Noticing Agent's
website at TKRestructuring.com/PPIC.
                        Case 20-10343-LSS            Doc 1496-3     Filed 10/13/20        Page 5 of 5

Redaction of information: Masking, editing out, or                Offers to purchase a claim
deleting certain information to protect privacy. Filers
must redact or leave out information entitled to privacy          Certain entities purchase claims for an amount that is less
on the Proof of Claim form and any attached documents.            than the face value of the claims. These entities may contact
                                                                  creditors offering to purchase their claims. Some written
Secured claim under 11 U.S.C. § 506(a): A claim                   communications from these entities may easily be confused
backed by a lien on particular property of the debtor. A          with official court documentation or communications from
claim is secured to the extent that a creditor has the right      the debtor. These entities do not represent the bankruptcy
to be paid from the property before other creditors are           court, the bankruptcy trustee, or the debtor. A creditor has
paid. The amount of a secured claim usually cannot be             no obligation to sell its claim. However, if a creditor
more than the value of the particular property on which           decides to sell its claim, any transfer of that claim is subject
the creditor has a lien. Any amount owed to a creditor            to Bankruptcy Rule 3001(e), any provisions of the
that is more than the value of the property normally may          Bankruptcy Code (11 U.S.C. § 101 et seq.) that apply, and
be an unsecured claim. But exceptions exist; for example,         any orders of the bankruptcy court that apply.
see 11 U.S.C. § 1322(b) and the final sentence of §
1325(a).
                                                                  Please send completed Proof(s) of Claim to:
Examples of liens on property include a mortgage on real
estate or a security interest in a car. A lien may be             If by first class mail:
voluntarily granted by a debtor or may be obtained                TK Holdings Inc. Claims Processing Center
through a court proceeding. In some states, a court               c/o Prime Clerk LLC
judgment may be a lien.                                           Grand Central Station, PO Box 4850
                                                                  New York, NY 10163-4850
Setoff: Occurs when a creditor pays itself with money
belonging to the debtor that it is holding, or by canceling       If by overnight courier or hand delivery:
a debt it owes to the debtor.                                     TK Holdings Inc. Claims Processing Center
                                                                  c/o Prime Clerk LLC
Unsecured claim: A claim that does not meet the                   850 Third Avenue, Suite 412
requirements of a secured claim. A claim may be                   Brooklyn, NY 11232
unsecured in part to the extent that the amount of the
claim is more than the value of the property on which a
creditor has a lien.                                           Do not file these instructions with your form
